United Case
       States 1:20-cr-00003-JRW
              District Court for the Western District
                                      Document    2 of  Kentucky
                                                      Filed                             Page
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                                    Case Assignment
                              Standard Criminal Assignment
                              Case number 1:20CR-3-GNS

                              Assigned : Chief Judge Greg N. Stivers
                              Judge Code : 4416


                                                                    Assigned on 2/14/2020 4:07:32 PM
                                                                                Transaction ID: 30341

                                     Request New Judge     Return




https://casemgt.kywd.circ6.dcn/CaseAssign.asp?Action=CRCA                                  2/14/2020
